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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                      Plaintiff,                 )
                                                 )                8:07CR371
       vs.                                       )
                                                 )                  ORDER
EDILBERTO GUEMBES HERNANDEZ,                     )
                                                 )
                      Defendant.                 )


       This matter is before the court on the defendant's unopposed motion for extension
of time to conduct discovery [22]. For good cause shown, the court finds that the requested
extension should be granted.

       IT IS ORDERED that the motion [22] is granted, as follows:

       1.    The defendant's trial setting will be determined on or after March 10, 2008.

        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this motion and outweigh the interests of the public and
the defendant in a speedy trial. Any additional time arising as a result of the granting of
this motion, that is, the time between February 19, 2008 and March 10, 2008, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason that counsel require additional time to adequately prepare the case,
taking into consideration due diligence of counsel and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(8)(A) & (B).

     3. Defendant shall file an affidavit or declaration regarding speedy trial, as required
by NECrimR 12.1 and/or 12.3, as soon as is practicable.

       DATED January 15, 2008.

                                              BY THE COURT:

                                              s/ F.A. Gossett
                                              United States Magistrate Judge
